       Case 2:18-cr-00004-DLC Document 207 Filed 11/03/21 Page 1 of 7



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION


UNITED STATES OF AMERICA,                      Cause No. 18-04-BU-DLC-03

             Plaintiff,

       vs.                                                ORDER

STEVEN FRANCIS REYCHLER,

             Defendant.


      Defendant Reychler moves the Court to reduce the sentence under 18 U.S.C.

§ 3582(c)(1)(A). He is currently serving a 120-month sentence for federal drug

and firearms offenses. See Judgment (Doc. 135). His projected release date is

June 25, 2027. See Inmate Locator, http://www.bop.gov/inmateloc (accessed Nov.

1, 2021).

      On August 23, 2021, the Court appointed counsel to represent Reychler. See

Order (Doc. 198). Counsel filed a supplemental motion and the United States a

supplemental response.

                              I. Legal Framework

      After considering the sentencing factors in 18 U.S.C. § 3553(a), the Court

may reduce a sentence if “extraordinary and compelling reasons warrant such a

                                        1
        Case 2:18-cr-00004-DLC Document 207 Filed 11/03/21 Page 2 of 7



reduction.” 18 U.S.C. § 3582(c)(1)(A)(i). The statute provides that any sentence

reduction must be consistent with the “applicable” policy statement in the

Sentencing Guidelines. See 28 U.S.C. § 994(a)(2)(C), (t); U.S.S.G. § 1B1.13(3)

(Nov. 1, 2018). The guideline, however, has not been revised since Congress

amended § 3582(c)(1) to allow defendants, not just the Director of the Bureau of

Prisons, to move for sentence reductions. The Ninth Circuit holds that district

courts may take U.S.S.G. § 1B1.13 into account, but it is binding only when the

Director has filed the motion. See United States v. Aruda, 993 F.3d 797, 802 (9th

Cir. 2021) (per curiam); see also Bryant v. United States, No. 20-1732 (U.S. pet.

for cert. filed June 10, 2021).

      Pertinent factors under § 3553(a) include the “nature and circumstances of

the offense and the history and characteristics of the defendant,” the need for the

sentence “to reflect the seriousness of the offense, to promote respect for the law,

and to provide just punishment for the offense,” to deter criminal conduct and

protect the public, and to provide effective correctional treatment, including

education or vocational training and medical care. See 18 U.S.C. § 3553(a)(1), (2).

The Court may also consider the advisory guideline range and the need to “avoid

unwarranted sentencing disparities” among similarly situated defendants and

provide restitution to victims. See id. § 3553(a)(4), (6)–(7).

                                          2
           Case 2:18-cr-00004-DLC Document 207 Filed 11/03/21 Page 3 of 7



       To date, the Ninth Circuit has not decided whether a district court may

consider other legislative or common-law developments in sentencing law in

deciding whether a prisoner has shown an “extraordinary and compelling reason”

to reduce his sentence. See, e.g., United States v. Black, 999 F.3d 1071, 1075–76

(7th Cir. 2021) (citing cases and holding that district court may consider Congress’

amendment of the “stacking” provision of 18 U.S.C. § 924(c)(1)(C) as a reason to

reduce sentence).1

                                       II. Discussion

       A. Reason for Release

       Reychler is 73 years old. A year ago, medical staff assessed chronic

obstructive pulmonary disease, hypertension, osteoarthritis in his hips, an enlarged

prostate, and obesity. Reychler has sought hip replacement surgery but, at least as

of last May, had not obtained it. His age, hypertension, COPD, and obesity each

place him at greater risk of developing severe illness should he contract COVID-19

despite his full vaccination. See Def. Ex. A (Doc. 203) at 2; Med. Record (Doc.

192) at 155. “The risk of severe COVID-19 increases as the number of underlying


       1
         The United States Supreme Court will decide whether a district court may or must
consider such developments in deciding whether to reduce a sentence under § 404(b) of the First
Step Act, which applies to defendants sentenced for offenses involving crack cocaine. See
Concepcion v. United States, No. 20-1650 (U.S. cert. granted Sept. 30, 2021). The Court’s
analysis of the question in that case might or might not be relevant to motions filed under §
603(b) of the First Step Act, which authorized prisoners’ motions for compassionate release.
                                               3
        Case 2:18-cr-00004-DLC Document 207 Filed 11/03/21 Page 4 of 7



medical conditions increases in a person.” Centers for Disease Control, People

with Certain Medical Conditions, https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-conditions.html (updated Oct.

14, 2021, and accessed Nov. 2, 2021).

      Reychler also asks the Court to consider Congress’ amendment of the safety

valve provision of 18 U.S.C. § 3553(f). At the time of sentencing, Reychler’s two

criminal history points precluded safety valve relief. See 18 U.S.C. § 3553(f)(1)

(eff. May 27, 2010). He meets the current criminal-history criteria under §

3553(f)(1)(A)–(C) (eff. Dec. 21, 2018). But Reychler personally gave his co-

defendant/niece a Ruger .380 pistol to protect herself and her $12,000 or $20,000

on a trip to pick up methamphetamine, see Presentence Report ¶ 31; Offer of Proof

(Doc. 75) at 3–4 ¶ 4, leading to his guilty plea to possessing a firearm in

furtherance of drug trafficking, see Judgment (Doc. 135) at 1. Even under today’s

version of the statute, this fact precluded a finding that he “did not . . . possess a

firearm . . . in connection with the offense.” 18 U.S.C. § 3553(f)(2); United States

v. Costa, 264 Fed. Appx. 564, 566 (9th Cir. 2008) (unpublished mem. disp.).

      Reychler’s age and medical conditions constitute an extraordinary and

compelling reason for his release. Congress’ amendment of the safety valve

provision does not.

                                            4
        Case 2:18-cr-00004-DLC Document 207 Filed 11/03/21 Page 5 of 7



      B. Section 3553(a) Factors

      Reychler was the leader/mentor of criminal activity involving several other

people. See Statement of Reasons (Doc. 136) at 1 § I(A); Presentence Report

(Doc. 137) ¶ 55. He brought more than 28 pounds of methamphetamine, at least

some of it 100% pure, into Montana from sources in multiple states. He meant to

branch out into cocaine as well. See Presentence Report ¶¶ 44–45, 52. He had no

criminal history at all until he was convicted on misdemeanor charges of driving

under the influence and reckless driving at the age of 54. See id. ¶ 65. He

committed three more offenses in his mid- to late 60’s, including one instance

involving minors and alcohol and/or marijuana. See id. ¶¶ 66–68. These relatively

minor offenses stand in stark contrast to the seriousness of Reychler’s conduct in

this case, which involved planning and coordinating distribution and resupply and

handling large amounts of cash over a period of at least eight months. See id. ¶¶

21–36. Reychler was 67 years old when he engaged in this systematic poisoning

of his community—hardly a callow youth unable to understand the depth and

permanence of the addictions he fed in others.

      Reychler’s sentence of 120 months represented significant lenience at

sentencing. His advisory guideline range on Count 1, the drug count, was 87 to

108 months. See Statement of Reasons at 1 § III. Taking into account the

                                         5
        Case 2:18-cr-00004-DLC Document 207 Filed 11/03/21 Page 6 of 7



mandatory consecutive five-year term on Count 5, see Dean v. United States, __

U.S. __, 137 S. Ct. 1170 (2017), the Court searched diligently for the sentence that

was “sufficient, but not greater than necessary” to meet the objectives of federal

sentencing, see 18 U.S.C. § 3553(a). Reychler received a sentence of 60 months

on the drug count, 27 months below the low end of the guideline range. The

variance was due “most notably” to “his advanced age, mental health, and physical

condition,” but also in recognition of his family responsibilities and early

acceptance of responsibility, all as balanced against the seriousness of the offense

and his role in it. See Statement of Reasons at 3 § VI(D). Reychler’s sentence was

the lowest the Court could justify in light of his conduct.

      Unlike the vast majority of defendants charged with drug and firearm

offenses, Reychler was released before trial and permitted to self-report after

sentencing. See Order (Doc. 15); Minutes (Doc. 89); Judgment (Doc. 135) at 2.

This fact is much to his credit.

      C. Conclusion

      Reychler presents a difficult case. He is vulnerable to severe illness if he

contracts COVID-19, and the Court does not want any harm to come to him. He is

also capable of making valuable contributions to his community when he is

released. But Reychler does not show that his medical and mental health

                                          6
        Case 2:18-cr-00004-DLC Document 207 Filed 11/03/21 Page 7 of 7



conditions have deteriorated significantly since his sentencing. His hip issue is no

doubt painful, but he does not show it is unusual or extraordinary. Vaccination and

the control measures taken by the Bureau of Prisons are not foolproof—nothing

is—but they do offer real protection against the virus. At the minimum the Court

could reasonably see at the time of sentencing, Reychler’s offenses and his own

history and characteristics warranted a sentence of ten years. Considering all the

relevant circumstances, reducing his sentence to the three years he has served to

date would denigrate the seriousness of his crimes and undermine respect for the

law. See 18 U.S.C. § 3553(a)(2)(A)–(C).


      Accordingly, IT IS ORDERED that Reychler’s motion for compassionate

release under 18 U.S.C. § 3582(c)(1)(A) (Docs. 188, 202) is DENIED.

      DATED this 3rd day of November, 2021.




                                          7
